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                              UNITED STATES COURT OF APPEALS
                                 FOR THE ELEVENTH CIRCUIT
                                 ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                               56 Forsyth Street, N.W.
                                               Atlanta, Georgia 30303

David J. Smith                                                                           For rules and forms visit
Clerk of Court                                                                           www.ca11.uscourts.gov


                                             October 02, 2023

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Appeal Number: 23-12958-H
Case Style: The State of Georgia v. Mark Meadows
District Court Docket No: 1:23-cv-03621-SCJ

                                         DISMISSAL NOTICE

Pursuant to 11th Cir. R. 42-1(b), this appeal will be dismissed without further notice upon
the expiration of 14 days from the date of this notice unless:

      1. The appellant files:

           • in this Court, in the district court, or both, as applicable, a completed
           Transcript Order Form (pursuant to 11th Cir. R. 10-1, the Transcript Order Form
           must be filed in both the circuit court and the district court, and you failed to file
           the Transcript Order Form in one or both courts);
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       OR
       • in this Court only, a certificate stating no transcript will be ordered (pursuant
       to FRAP 10(b)(1)(B), the certificate only needs to be filed in the circuit court).

       AND

   2. The appellant files in this Court only, a Motion to File Documents Out of Time
      (pursuant to 11th Cir. R. 42-1(b), you must also file this additional motion to avoid
      dismissal).

Note to Counsel: 11th Cir. R. 42-1(b) provides that "If an appellant is represented by appointed
counsel, the clerk may refer the matter to the court for possible disciplinary action against
counsel in lieu of dismissal." Eleventh Circuit IOP 1 to FRAP 26 provides that "Failure to
timely file required documents . . . may result in possible disciplinary action against counsel as
described in Addendum Eight."

Clerk's Office Phone Numbers
General Information: 404-335-6100           Attorney Admissions:         404-335-6122
Case Administration: 404-335-6135           Capital Cases:               404-335-6200
CM/ECF Help Desk: 404-335-6125              Cases Set for Oral Argument: 404-335-6141




Enclosure(s)

                                                                                 DIS-1 Deficiency
